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                                                                                          E-FILED
                                                Tuesday, 24 September, 2013 09:59:34 AM
                                                            Clerk, U.S. District Court, ILCD
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

WILLIAM CARINI #N–51235,                                 )
                                                         )
                     Plaintiff,                          )
       -vs-                                              )     No. 10-cv-1300-JES-BGC
                                                         )
JOSEPH MATHY, Former Acting Warden,                      )
M. HARDY, Former Assistant Warden, MAJOR                 )
KEVIN DeLONG, C/O HALEY, C/O DAVID                       )
LINDSAY, DR. NGU, and NURSE JOYCE.                       )
                                                         )
                     Defendants.                         )

     RESPONSE TO PLAINTIFF’S MOTION OF INTENT TO FILING MOTION TO
      REOPEN AND REINSTATE HIS CIVIL ACTION AGAINST DEFENDANTS

       Now come the Defendants, JOSHUA HALLEY AND DAVID LINDSAY, by and

through their attorney, Lisa Madigan, Attorney General for the State of Illinois, and

hereby respond to plaintiff’s motion to reinstate this case as follows:

       1.     A trial was scheduled in this matter on August 19, 2013. The defendants

and their counsel were present and ready to proceed. Plaintiff was also present, but

when asked if he was ready to proceed announced that he was dismissing the case.

The Court granted the motion to dismiss. Plaintiff now seeks to reinstate his case.

       2.     Plaintiff appears to be motivated, at least in part, by the defence motion

asking that any jury costs imposed under Local Rule 83.14 be imposed only against

plaintiff. Plaintiff states he needs additional time in which to respond. The defendants

have no objection to plaintiff receiving additional time in which to respond to the motion,

but there is no need to reinstate the case to allow this. To the extent that plaintiff seeks

to avoid the imposition of these costs, reinstating his case will not help. Local Rule

83.14 applies whenever a jury panel has reported for voir dire and the trial does not

proceed. There is no provision barring the imposition of jury costs if the trial proceeds
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at a later date.

       3.     Beyond the issue of jury costs, the defendants object to plaintiff’s motion

to reinstate his case. Both defendants and two attorneys were present in court on

August 19, 2013, prepared to proceed with trial. Additional witnesses were prepared to

testify by video. The Department of Corrections incurred the cost of transporting plaintiff

to Peoria. Plaintiff, for no clear reason, chose to dismiss his case on the morning of trial

rather than to proceed. He now, still for no clear reason, seeks to reinstate the case

and impose the same burden on the defendants and the State of Illinois.                The

defendants object to plaintiff conducting his litigation in this manner and ask that his

motion to reinstate be denied.

       4.     To the extent plaintiff is allowed to reinstate his case, the defendants ask

that he not be allowed to proceed until he has paid all costs associated with the

previous dismissal of his case.

       WHEREFORE, for the above and foregoing reasons, defendants ask this

Honorable Court to deny plaintiff’s motion to reinstate.

                                          Respectfully submitted,

                                          JOSHUA HALLEY and DAVID LINDSAY,

                                                 Defendants,
Christopher L. Higgerson, #6256085
Assistant Attorney General                LISA MADIGAN, Attorney General,
500 South Second Street                   State of Illinois.
Springfield, Illinois 62706
(217) 782-5819 Phone                             Attorney for Defendants.
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Of Counsel.                                     Christopher L. Higgerson
                                                Assistant Attorney General




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                                Certificate of Service



       I hereby certify that on September 24, 2013, I electronically filed Defendants’
Response To Plaintiff’s Motion Of Intent To Filing Motion To Reopen and Reinstate His
Civil Action Against Defendants, with the Clerk of Court using the CM/ECF system
which will send notification of such filing to the following:
Andrew M Ramage
                                    aramage@hinshawlaw.com

and I hereby certify that on September 24, 2013, I caused a copy of the foregoing
document to be mailed by United States Postal Service, in an envelope properly
addressed and fully prepaid to the following non-registered participant:

                                 William Carini #N–51235
                                 Pontiac Correctional Center
                                 700 West Lincoln
                                 P.O. Box 99
                                 Pontiac, Illinois 61764



                                         Respectfully submitted,


                                 By:     s/ Christopher L. Higgerson
                                         Christopher L. Higgerson, #6256085
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                                         500 South Second Street
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